                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF IOWA
                            WESTERN DIVISION



 UNITED STATES OF AMERICA,
               Plaintiff,                               No. CR06-4030-MWB
 vs.                                           ORDER ACCEPTING MAGISTRATE
                                                    JUDGE’S REPORT AND
 JASON COURTNEY,
                                               RECOMMENDATION REGARDING
               Defendant.                        DEFENDANT’S GUILTY PLEA
                                ____________________

                      I. INTRODUCTION AND BACKGROUND
       On June 21, 2006, a second superseding indictment was returned against defendant
Jason Courtney, charging defendant with conspiring to distribute and possess with intent
to distribute 1000 kilograms or more of marijuana, cocaine, methamphetamine and
anabolic steroids, in violation of 21 U.S.C. §§ 841(b)(1)(A) and 846. On November 2,
2006, defendant appeared before United States Magistrate Judge Paul A. Zoss and entered
a plea of guilty to Count 2 of the second superseding indictment. On this same date, Judge
Zoss filed a Report and Recommendation in which he recommends that defendant’s guilty
plea be accepted. No objections to Judge Zoss’s Report and Recommendation were filed.
The court, therefore, undertakes the necessary review of Judge Zoss’s recommendation to
accept defendant’s plea in this case.


                                        II. ANALYSIS
       Pursuant to statute, this court’s standard of review for a magistrate judge’s Report
and Recommendation is as follows:
              A judge of the court shall make a de novo determination of
              those portions of the report or specified proposed findings or
              recommendations to which objection is made. A judge of the


   Case 5:06-cr-04030-MWB-CJW            Document 334    Filed 11/02/06    Page 1 of 2
             court may accept, reject, or modify, in whole or in part, the
             findings or recommendations made by the magistrate [judge].

28 U.S.C. § 636(b)(1). Similarly, Federal Rule of Civil Procedure 72(b) provides for
review of a magistrate judge’s Report and Recommendation on dispositive motions and
prisoner petitions, where objections are made, as follows:
             The district judge to whom the case is assigned shall make a de
             novo determination upon the record, or after additional
             evidence, of any portion of the magistrate judge’s disposition
             to which specific written objection has been made in
             accordance with this rule. The district judge may accept,
             reject, or modify the recommended decision, receive further
             evidence, or recommit the matter to the magistrate judge with
             instructions.
FED. R. CIV. P. 72(b).
      In this case, no objections have been filed, and it appears to the court upon review
of Judge Zoss’s findings and conclusions that there is no ground to reject or modify them.
Therefore, the court accepts Judge Zoss’s Report and Recommendation of November 2,
2006, and accepts defendant’s plea of guilty in this case to Count 2 of the second
superseding indictment.
      IT IS SO ORDERED.
      DATED this 2nd day of November, 2006.


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                                                MARK W. BENNETT
                                                CHIEF JUDGE, U. S. DISTRICT COURT
                                                NORTHERN DISTRICT OF IOWA




                                            2


   Case 5:06-cr-04030-MWB-CJW         Document 334       Filed 11/02/06   Page 2 of 2
